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                       Exhibit 4
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                                              EXHIBIT 4

      APTIV’S STATEMENT OF ISSUES OF LAW REMAINING TO BE LITIGATED

          Defendant Aptiv identifies the following issues of law which remain to be litigated, with

  a citation to authorities relied upon.

          The identification of these issues is based in part on Aptiv’s current understanding of

  Microchip’s arguments regarding infringement, invalidity, and patent damages, which are based

  on the pleadings and discovery to date. Aptiv reserves the right to supplement, amend, or

  modify this list, for example, to respond to any issues, arguments, or evidence raised by

  Microchip or in the event of any Court ruling that might raise new or additional issues. The

  authority cited herein is exemplary, and not exhaustive. Aptiv reserves the right to rely on

  additional authority, including authority cited by Microchip in its Statement of Issues of Law that

  Remain to be Litigated (Exhibit 3).

          If the Court determines that Aptiv’s statement of the issues of fact that remain to be

  litigated as set forth in Exhibit 2 contains issues of law, those issues of law are incorporated

  herein by reference. Should the Court determine that any issue identified in this statement as a

  legal issue is more appropriately considered a factual issue, Aptiv incorporates such issues by

  reference into Exhibit 2.

 I.       INFRINGEMENT

          A.      Issues of Law

          1.      Whether Microchip can prove by a preponderance of the evidence that Aptiv

  directly infringed the Asserted Claims of the Asserted Patents.

          2.      Whether Microchip can prove by a preponderance of the evidence that Aptiv

  induced any entity to directly infringe the Asserted Claims of the Asserted Patents.

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         3.      Whether Microchip can prove by a preponderance of the evidence that Aptiv

  contributed to any entity’s direct infringement of the Asserted Claims of the Asserted Patents.

         4.      Whether Microchip can prove by a preponderance of the evidence that Aptiv

  either directly or indirectly infringed the Asserted Claims of the Asserted Patents under the

  doctrine of equivalents.

         5.      Whether Microchip can prove by a preponderance of the evidence that Aptiv

  willfully infringed the Asserted Claims of the Asserted Patents.

         B.      Relevant Authority

                     1. Direct Infringement

         “[I]t is axiomatic that the patentee bears the burden of proving infringement.” Ultra-Tex

  Surfaces, Inc. v. Hill Bros. Chem. Co., 204 F.3d 1360, 1364 (Fed. Cir. 2000) (emphasis in

  original). Infringement must be proven by a preponderance of the evidence. Centricut, LLC v.

  Esab Grp., Inc., 390 F.3d 1361, 1367 (Fed. Cir. 2004); Warner-Lambert Co. v. Teva Pharms.

  USA, Inc., 418 F.3d 1326, 1341 n.15 (Fed. Cir. 2005). To determine whether a patentee has met

  this burden, courts apply a two-part test: “First, the claim must be properly construed to

  determine its scope and meaning. Second, the claim as properly construed must be compared to

  the accused device or process.” Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp., 149 F.3d

  1309, 1315 (Fed. Cir. 1998) (citation omitted).

         An accused device literally infringes a patent claim only if it contains each and every

  recited claim limitation. See Amhil Enters., Ltd. v. Wawa, Inc., 81 F.3d 1554, 1562 (Fed. Cir.

  1996). Each recited claim element or limitation is considered to be material and essential. See

  London v. Carson Pirie Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991). The plaintiff must

  prove infringement of every limitation of the asserted patent claims by a preponderance of the

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  evidence. Biovail Corp. Int’l v. Andrx Pharms., Inc., 239 F.3d 1297, 1302 (Fed. Cir. 2001).

         To determine direct infringement, the accused product must be compared with each of the

  asserted claims, using where appropriate the Court’s instructions as to the definition of certain of

  the patent claim terms. A patent claim can only be directly infringed if the accused product

  includes each and every step described in that patent claim. “To establish literal infringement,

  all of the elements of the claim, as correctly construed, must be present in the accused system.”

  Netword, LLC v. Centraal Corp., 242 F.3d 1347, 1353 (Fed. Cir. 2001).

         For dependent claims, if there is no infringement of the independent claim to which the

  dependent claim refers, there cannot be infringement of the dependent claim. Kim v. ConAgra

  Foods, Inc., 465 F.3d 1312, 1316, n.1 (Fed. Cir. 2006) (dependent claims not infringed when

  independent claim not infringed). “In order to prove direct infringement, a patentee must either

  point to specific instances of direct infringement or show that the accused device necessarily

  infringes the patent in suit.” ACCO Brands, Inc. v. ABA Locks Mfr. Co., 501 F.3d 1307, 1313

  (Fed. Cir. 2007).

                 2.      Induced Infringement

         “Whoever actively induces infringement of a patent shall be liable as an infringer.” 35

  U.S.C. § 271(b). “A person induces infringement under § 271(b) by actively and knowingly

  aiding and abetting another’s direct infringement.” C.R. Bard, Inc. v. Advanced Cardiovascular

  Sys., Inc., 911 F.2d 670, 675 (Fed. Cir. 1990). Induced infringement requires proof of actual

  infringement. Thus, “[i]n order to succeed on a claim of inducement, the patentee must show,

  first that there has been direct infringement, and second that the alleged infringer knowingly

  induced infringement and possessed specific intent to encourage another's infringement.” Minn.

  Mining & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1304-05 (Fed. Cir. 2002) (citation omitted).

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  This requires showing that the alleged infringer had “knowledge that the induced acts constitute

  patent infringement.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011); see

  also Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1928 (2015) (explaining that indirect

  infringement “requires proof the defendant knew the [accused] acts were infringing”). The

  knowledge requirement must be met by a showing of either actual knowledge or willful

  blindness. Global-Tech, 563 U.S. at 2070-71 (“[A] willfully blind defendant is one who takes

  deliberate actions to avoid confirming a high probability of wrongdoing and who can almost be

  said to have actually known the critical facts.”)

         “[I]nducement requires evidence of culpable conduct, directed to encouraging another’s

  infringement, not merely that the inducer had knowledge of the direct infringer’s activities.”

  DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (en banc) (citing Metro-

  Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 125 S. Ct. 2764, 2780 (2005)). “The failure of an

  infringer to obtain the advice of counsel with respect to any allegedly infringed patent, or the

  failure of the infringer to present such advice to the court or jury, may not be used to prove that

  the accused infringer . . . intended to induce infringement of the patent.” 35 U.S.C. § 298. And

  merely showing that a defendant provides instructions and training for its customers alone does

  not evidence inducement; rather, the patentee must show that such instructions and training

  evidence “intent to encourage infringement.” Takeda Pharms. U.S.A., Inc. v. West-Ward Pharm.

  Corp., 785 F.3d 625, 631 (Fed. Cir. 2015).

                     3. Contributory Infringement

         Contributory infringement occurs if a party sells or offers to sell, a material or apparatus

  for use in practicing a patented process, and that “material or apparatus” is material to practicing



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  the invention, has no substantial non-infringing uses, and is known by the party “to be especially

  made or especially adapted for use in an infringement of such patent.” 35 U.S.C §271(c).

           To establish liability for contributory infringement, a patentee must prove the following

  four elements: (1) the accused infringer sold or offered to sell in the United States, or imported

  into the United States, a component of a patented device or composition, or a material or

  apparatus that is a component for use in practicing a patented process; (2) the component is a

  material part of the invention; (3) the accused party knew that the component was especially

  made or adapted for use in a manner that would infringe the patent when the party sold, offered

  or imported the component; and (4) the component is not a staple article of commerce capable of

  substantial non-infringing use. See Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir.

  2010).

           A non-infringing use is “substantial” if it is “not unusual, far-fetched, illusory,

  impractical, occasional, aberrant, or experimental.” Vita-Mix Corp. v. Basic Holding, Inc., 581

  F.3d 1317 (Fed. Cir. 2009). A fact finder may consider “the use’s frequency, . . . the use’s

  practicality, the invention’s intended purpose, and the intended market.” Toshiba Corp. v.

  Imation Corp., 681 F.3d 1358 (Fed. Cir. 2012) (citing i4i Ltd. P’ship v. Microsoft Corp., 598

  F.3d 831, 851 (Fed. Cir. 2010)). “Where the product is equally capable of, and interchangeably

  capable of both infringing and substantial noninfringing uses, a claim for contributory

  infringement does not lie.” R+L Carriers, Inc. v. DriverTech LLC (In re Bill of Lading

  Transmission & Processing Sys. Patent Litig.), 681 F.3d 1323, 1338 (Fed. Cir. 2012).

                  4.      Doctrine of Equivalents

           An accused product or process that does not literally meet every limitation of a claim

  may nonetheless infringe if “the accused product or process contain[s] elements identical or

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  equivalent to each claimed element of the patented invention.” Warner–Jenkinson Co., Inc. v.

  Hilton Davis Chem. Co., 520 U.S. 17, 40 (1997). “Each element contained in a patent claim is

  deemed material to defining the scope of the patented invention, and thus the doctrine of

  equivalents must be applied to individual elements of the claim, not to the invention as a whole.”

  Id. To prove infringement under the doctrine of equivalents, the patentee must prove by a

  preponderance of evidence “the accused device contains an equivalent for each limitation not

  literally satisfied.” Catalina Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 812 (Fed.

  Cir. 2002). To prove equivalence, a patentee generally must “show[] that the difference between

  the claimed invention and the accused product [is] insubstantial.” Stumbo v. Eastman Outdoors,

  Inc., 508 F.3d 1358, 1364 (Fed. Cir. 2007). One way of showing that the difference is

  insubstantial is “by showing on a limitation by limitation basis that the accused product performs

  substantially the same function in substantially the same way with substantially the same result

  as each limitation of the patented product.” Id. “What constitutes equivalency must be

  determined against the context of the patent, the prior art, and the particular circumstances of the

  case. Equivalence, in the patent law, is not the prisoner of a formula and is not an absolute to be

  considered in a vacuum.” Graver Tank & Mfg. Co. v. Linde Air Prod. Co., 339 U.S. 605, 609

  (1950).

            The doctrine of equivalents cannot be used, however, to recapture subject matter

  surrendered during prosecution. Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535

  U.S. 722 (2002); Honeywell Intern., Inc. v. Hamilton Sundstrand Corp., 523 F.3d 1304, 1312

  (Fed. Cir. 2008) (“The doctrine of prosecution history estoppel prevents a patent owner from

  recapturing with the doctrine of equivalents subject matter surrendered to acquire the patent.”).

  “Prosecution history estoppel requires that the claims of a patent be interpreted in light of the

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  proceedings in the PTO during the application process.” Festo, 535 U.S. at 733. For instance,

  estoppel may be appropriate “[when the applicant surrenders] claim scope through argument to

  the patent examiner.” Voda v. Cordis Corp., 536 F.3d 1311, 1325 (Fed. Cir. 2008). See e.g.,

  PODS, Inc. v. Porta Star, Inc., 484 F.3d 1359, 1367–68 (Fed. Cir. 2007) (estoppel applied to

  prevent patentee from asserting claim to non-rectangular-shaped frame where patentee explicitly

  limited its claims to a rectangular-shaped frame); Reese v. Nortel Networks Inc., 60 Fed. App’x

  274, 278 (Fed. Cir. 2003) (patentee estopped from asserting an equivalent “when he expressly

  disavowed that interpretation during prosecution”). If a patentee “clearly states during

  prosecution that certain subject matter is not claimed, the public and the patentee’s competitors,

  may rely on that representation in making and using unclaimed subject matter without giving rise

  to an infringement action.” Pfizer Inc. v. Teva Pharms., 882 F.Supp.2d 643, 711 (D. Del. 2012);

  Medinol Ltd. v. Guidant Corp., 417 F.Supp.2d 280, 310 (S.D.N.Y. 2006) (patentee estopped

  from asserting an equivalent because they made an “unequivocal statement” disavowing the

  claim at issue).

                 5.      Willful Infringement

         The Supreme Court has held that “subjective willfulness of a patent infringer, intentional

  or knowing, may warrant enhanced damages, without regard to whether his infringement was

  objectively reckless.” Halo Electronics, Inc. v. Pulse Electronics, Inc., 579 U.S. 93, 105 (2016).

  “[P]unishment should generally be reserved for egregious cases typified by willful misconduct.”

  Id. at 106. In order to demonstrate willful infringement, a plaintiff must prove by a

  preponderance of the evidence that the defendant “actually knew or should have known that its

  actions constituted an unjustifiably high risk of infringement of a valid and enforceable patent.”

  Arctic Cat Inc. v. Bombardier Recreational Prod. Inc., 876 F.3d 1350, 1371 (Fed. Cir. 2017)

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  (internal quotation marks omitted). “To determine whether an accused infringer’s conduct was

  subjectively willful, the Court must ‘measure[]’ the accused infringer’s ‘culpability . . . against

  the knowledge of the actor at the time of the challenged conduct.’” Masimo Corp. v. Philips

  Elecs. N. Am. Corp., C.A. No. 09-80-LPS, 2016 WL 6542726, at *15 (D. Del. Oct. 31, 2016)

  (quoting Halo, 579 U.S. at 105). Awareness of the patents-in-suit, without more, cannot

   establish willful infringement. See SRI Int’l v. Cisco Sys., Inc., 930 F.3d 1295, 1308–09 (Fed.

   Cir. 2019).

II.       INVALIDITY

          B.      Issues of Law

          1.      Whether Aptiv can prove by clear and convincing evidence that the Asserted

   Claims of the Asserted Patents are in invalid as anticipated by the prior art.

          2.      Whether Aptiv can prove that references asserted by Aptiv are prior art to the

   Asserted Patents.

          3.      Whether Aptiv can prove by clear and convincing evidence that the Asserted

   Claims of the Asserted Patents are in invalid as obvious in view of the prior art.

          4.      Whether Aptiv can prove by clear and convincing evidence that the Asserted

   Claims of the Asserted Patents are invalid for lack of written description.

          5.      Whether Aptiv can prove by clear and convincing evidence that the Asserted

   Claims of the Asserted Patents are invalid for lack of enablement.

          6.      Whether Aptiv can prove by clear and convincing evidence that the Asserted

   Claims of the Asserted Patents are invalid as indefinite.




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         C.      Relevant Authority

                 1.      Anticipation

         Under 35 U.S.C. § 102(a), a patent is invalid if “the invention was known or used by

  others in this country . . . before the invention thereof by the applicant for a patent.” 35 U.S.C. §

  102(a). In such a circumstance, “the later inventor has not contributed to the store of knowledge,

  and has no entitlement to a patent.” Woodland Tr. v. Flowertree Nursery, Inc., 148 F.3d 1368,

  1370 (Fed. Cir. 1998). A patent is invalid for anticipation under 35 U.S.C. §102, if a prior art

  reference discloses, expressly or inherently, each and every limitation of the claimed invention.

  Schering Corp. v. Geneva Pharms., Inc., 339 F.3d 1373, 1379 (Fed. Cir. 2003).

         A prior art reference anticipates a claim if the reference enables one of ordinary skill in

  the art to practice the invention, even if the author or inventor did not actually make or reduce to

  practice the claimed subject matter. Id. at 1380–81. “A person of ordinary skill in the art” refers

  to a hypothetical person who is presumed to have knowledge of all of the prior art in the field

  and analogous fields. In re Gorman, 933 F.2d 982, 986 (Fed. Cir. 1991). Such a person also

  possesses ordinary creativity, and is not an automaton. KSR Int’l Co. v. Teleflex Inc., 550 U.S.

  398, 421 (2007).

         The full scope of the claimed invention does not need to be enabled by the prior art

  reference for it to anticipate a claim, but rather disclosure of the invention by the prior art

  reference must be sufficient for a person having ordinary skill in the art, looking at that one

  reference, to be able to make and use at least one embodiment within the scope of the claimed

  invention. ClearValue, Inc. v. Pearl River Polymers, Inc., 668 F.3d 1340, 1344 (Fed. Cir. 2012)

  (citation omitted).



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                  2.      Prior Art

          To invalidate, the prior use or knowledge of an invention must be public. Woodland Tr.,

  148 F.3d at 1370. This publicity requirement is met by the absence of affirmative steps by the

  prior user to conceal the use. See, e.g., W.L. Gore & Assoc. v. Garlock, Inc., 721 F.2d 1540,

  1548-49 (Fed. Cir. 1983) (citing Elec. Storage Battery Co. v. Shimadzu, 307 U.S. 5, 20 (1939)).

  It is not necessary that the anticipatory features of the prior use be evident to the public, so long

  as use is made of those features. See New Railhead Mfg., LLC v. Vermeer Mfg. Co., 298 F.3d

  1290, 1297 (Fed. Cir. 2002). Efforts to commercialize an invention constitute a public use of the

  invention for these purposes. See Am. Seating Co. v. USSC Grp., Inc., 514 F.3d 1262, 1267

  (Fed. Cir. 2008).

                  3.      Obviousness

          Section 103 of Title 35 of the United States Code provides, in relevant part, that:

          A patent may not be obtained though the invention is not identically disclosed or
          described as set forth in section 102 of this title, if the differences between the
          subject matter sought to be patented and the prior art are such that the subject matter
          as a whole would have been obvious at the time the invention was made to a person
          having ordinary skill in the art to which said subject matter pertains. Patentability
          shall not be negatived by the manner in which the invention was made.


          The determination of whether an invention would have been obvious under § 103 is a

  legal conclusion based on underlying findings of fact. In re Sullivan, 498 F.3d 1345, 1350 (Fed.

  Cir. 2007). That determination requires a factual inquiry into: (1) the scope and content of the

  prior art; (2) the level of ordinary skill in the pertinent art; (3) the differences between the prior

  art and the claimed invention; and (4) the extent of any objective indicia of non-obviousness.

  KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406–07 (2007) (quoting Graham v. John Deere Co.

  of Kansas City, 383 U.S. 1, 17-18 (1966)).

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         The obviousness determination must be made from the perspective of a person of

  ordinary skill. The hypothetical person of ordinary skill is “presumed to know all the pertinent

  prior art, whether or not the applicant is actually aware of its existence.” In re Carlson, 983 F.2d

  1032, 1038 (Fed. Cir. 1992). The person of ordinary skill is attributed “knowledge of all prior

  art in the field of the inventor’s endeavor and of prior art solutions for a common problem even if

  outside that field.” In re Nilssen, 851 F.2d 1401, 1403 (Fed. Cir. 1988). Thus, “the proper way

  to apply the 103 obviousness test . . . is to first picture the inventor as working in his shop with

  the prior art references – which he is presumed to know – hanging on the walls around him.” In

  re Winslow, 365 F.2d 1017, 1020 (C.C.P.A. 1966). A person of ordinary skill is a person of

  ordinary creativity, not an automaton. KSR, 550 U.S. at 421.

         “[KSR] directs us to construe the scope of analogous art broadly.” Wyers v. Master Lock

  Co., 616 F.3d 1231, 1238 (Fed. Cir. 2010). Art is analogous if it is either from the same “field of

  endeavor” or, even if outside the field of endeavor, “is reasonably pertinent to the [particular]

  problem with which the inventor [is involved].” In re Kahn, 441 F.3d 977, 986-87 (Fed. Cir.

  2006). “[A] reference need not work to qualify as prior art; it qualifies as prior art, regardless,

  for whatever is disclosed therein. Even if a reference discloses an inoperative device, it is prior

  art for all that it teaches.” Geo M. Martin Co. v. Alliance Mach. Sys. Int’l LLC, 618 F.3d 1294,

  1302–03 (Fed. Cir. 2010).

         Rather than applying “rigid preventative rules that deny fact-finders recourse to common

  sense,” courts must take a more “expansive and flexible approach” to determining whether an

  invention was obvious. KSR, 550 U.S. at 415, 421. Thus, “the legal determination of

  obviousness may include recourse to logic, judgment, and common sense . . . .” Wyers, 616 F.3d

  at 1239. “[O]bviousness cannot be avoided simply by a showing of some degree of

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  unpredictability in the art so long as there was a reasonable probability of success.” Pfizer, Inc.

  v. Apotex, Inc., 480 F.3d 1348, 1364 (Fed. Cir. 2007). “[E]xpectation of success need only be

  reasonable, not absolute.” Id.

         A patent claim is obvious when it does no more than combine familiar elements

  according to known methods to yield predictable results. KSR, 550 U.S. at 415–17 (“If a person

  of ordinary skill can implement a predictable variation, § 103 likely bars its patentability.”).

  Furthermore, when “there are a finite number of identified, predictable solutions, a person of

  ordinary skill in the art has good reason to pursue the known options within his or her technical

  grasp. If this leads to the anticipated success, it is likely the product not of innovation but of

  ordinary skill and common sense. In that instance, the fact that a combination was obvious to try

  might show that it was obvious under § 103.” Id. at 421. In making an obviousness

  determination, “a court must ask whether the improvement is more than the predictable use of

  prior art elements according to their established functions.” Id. at 417.

         Obviousness may be shown based on a combination of references or based on a single

  reference. SIBIA Neurosciences, Inc. v. Cadus Pharm. Corp., 225 F.3d 1349, 1356 (Fed. Cir.

  2000) (“[A] single prior art reference can render a claim obvious.”); Boston Scientific Scimed,

  Inc. v. Cordis Corp., 554 F.3d 982, 989–90 (Fed. Cir. 2009). In cases where the invalidity

  defense is based on a combination of elements known in the prior art, the proper inquiry is a

  flexible analysis. KSR., 550 U.S. at 419–20. “Under the correct analysis, any need or problem

  known in the field of endeavor at the time of the invention and addressed by the patent [or

  application at issue] can provide a reason for combining the elements in the manner claimed.”

  KSR, 550 U.S. at 420. A reason to combine known elements can be found, for example, in the

  “interrelated teachings of multiple patents; the effects of demands known to the design

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  community or present in the marketplace, and the background knowledge possessed by a person

  having ordinary skill in the art . . . .” KSR, 550 U.S. at 418. “[I]f a technique has been used to

  improve one device, and a person of ordinary skill in the art would recognize that it would

  improve similar devices in the same way, using the technique is obvious unless its actual

  application is beyond his or her skill.” Id.

         A single prior art reference can render a claim obvious. See Comaper Corp. v. Antec,

  Inc., 596 F.3d 1343, 1351-52 (Fed. Cir. 2010) (“Determining obviousness requires considering

  whether two or more pieces of prior art could be combined, or a single piece of prior art could be

  modified, to produce the claimed invention.”); Game and Tech. Co., Ltd. v. Activision Blizzard

  Inc., 926 F.3d 1370 (Fed. Cir. 2019) (“[A] patent can be obvious in light of a single prior

  reference if it would have been obvious to modify that reference to arrive at the patented

  invention.”) (internal quotations and citations omitted). Whether patent claims are obvious in

  view of a single prior art reference is analyzed in light of the general knowledge of a skilled

  artisan. See Koninklijke Philips N.V. v. Google LLC, 948 F.3d 1330 (Fed. Cir. 2020); see also

  Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338, 1349, 1353 (Fed. Cir. 2010) (affirming the

  district court’s grant of summary judgment of invalidity on “grounds of obviousness under [a

  single prior art reference] in view of general knowledge in the field,” in part because the

  obviousness “analysis requires an assessment of the background knowledge possessed by a

  person having ordinary skill in the art.”) (internal quotations and citations omitted).

         After the challenger establishes prima facie obviousness, the patentee may come forward

  with evidence to demonstrate that the invention would not have been obvious such as objective

  indicia of non-obviousness (“secondary considerations”). Such secondary considerations include

  commercial success, unexpected results, failure of others to solve the problem, skepticism of

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  others, copying, satisfaction of a long-felt need by the invention, and acclaim for the invention.

  See Leo Pharm. Prods., Ltd. v. Rea, 726 F.3d 1346, 1358–59 (Fed. Cir. 2013); Transocean

  Offshore Deepwater Drilling, Inc. v. Maersk Drilling USA, Inc., 699 F.3d 1340, 1349–54 (Fed.

  Cir. 2012); Eli Lilly and Co. v. Zenith Goldline Pharms., Inc., 471 F.3d 1369, 1380 (Fed. Cir.

  2006). However, the patentee must demonstrate a sufficient nexus between the objective indicia

  and the claimed invention. See, e.g., J.T. Eaton & Co. v. Atl. Paste & Glue Co., 106 F.3d 1563,

  1571 (Fed. Cir. 1997) (stating that a party cannot demonstrate commercial success to show

  nonobviousness “unless it can show that the commercial success of the product resulted from the

  claimed invention”); see also Pro-Mold & Tool Co. v. Great Lakes Plastics, Inc., 75 F.3d 1568,

  1574 (Fed. Cir. 1996) (describing that a nexus must exist between commercial success and

  claimed invention to determine the probative value of secondary considerations). “[I]f the

  feature that creates the commercial success was known in the prior art, the success is not

  pertinent,” because there is no nexus. Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1312

  (Fed. Cir. 2006); see also Tokai Corp. v. Easton Enters., Inc., 632 F. 3d 1358, 1369 (Fed. Cir.

  2011) (finding lack of nexus to support commercial success where basis for demand was “due to

  an element in the prior art”).

                  4.      Lack of Enablement

          To satisfy the enablement requirement, the specifications of the Asserted Patents must

  describe the alleged invention and “the manner and process of making and using it, in such full,

  clear, concise, and exact terms as to enable any person skilled in the art to which it pertains . . . to

  make and use the same.” 35 U.S.C. § 112. A claim lacks enablement, where “undue

  experimentation” is required to practice the claimed invention. See In re Wands, 858 F.2d 731,

  736-737 (Fed. Cir. 1988). Courts apply the Wands-factors to determine whether “undue

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  experimentation” would be necessary, namely “(1) the quantity of experimentation necessary, (2)

  the amount of direction or guidance presented, (3) the presence or absence of working examples,

  (4) the nature of the invention, (5) the state of the prior art, (6) the relative skill of those in the

  art, (7) the predictability or unpredictability of the art, and (8) the breadth of the claims.” Id. at

  737; see, e.g., Enzo Biochem, Inc. v. Calgene, Inc., 188 F.3d 1362, 1370-77 (Fed. Cir. 1999)

  (upholding the applicability of the Wands-factors). Although a specification need not disclose

  what is well known in the art, it “must supply the novel aspects of an invention in order to

  constitute adequate enablement.” Genentech, Inc. v. Novo Nordisk A/S, 108 F.3d 1361, 1366

  (Fed. Cir. 1997). Enablement is a question of law based on underlying factual findings. Wands,

  858 F.2d at 1402. To prove that a claim is invalid for nonenablement requires clear and

  convincing evidence. Koito Mfg. Co. v. Turn-Key-Tech, LLC, 381 F.3d 1142, 1156 (Fed. Cir.

  2004).

           “To be enabling, the specification of a patent must teach those skilled in the art how to

  make and use the full scope of the claimed invention without undue experimentation” as of the

  patent’s effective filing date. MagSil Corp. v. Hitachi Glob. Storage Techs., Inc., 687 F.3d 1377,

  1380 (Fed. Cir. 2012). The enablement requirement “serves the dual function in the patent

  system of ensuring adequate disclosure of the claimed invention and of preventing claims

  broader than the disclosed invention.” Id. at 1381.

           It is not enough to enable a subset of what is claimed, a patent specification “must teach

  those skilled in the art how to make and use the full scope of the claimed invention without

  undue experimentation.” Amgen Inc. v. Sanofi, 872 F.3d 1367, 1375 (Fed. Cir. 2017) (Amgen I)

  (quoting Genentech, Inc., 108 F.3d at 1365). A patentee may choose to claim his invention

  narrowly or broadly, but “[a] patentee who chooses broad claim language must make sure the

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  broad claims are fully enabled. The scope of the claims must be less than or equal to the scope

  of the enablement.” Sitrick v. Dreamworks, LLC, 516 F.3d 993, 999 (Fed. Cir. 2008) (internal

  quotation marks omitted) (holding that the patentee’s claims were broad enough to cover both

  movies and video games, but patent did not enable movies); see also Trs. of Bos. Univ. v.

  Everlight Elecs. Co., 896 F.3d 1357, 1364–65 (Fed. Cir. 2018) (invalidating claim to “six

  permutations” because only five out of the six permutations were enabled); Plant Genetic Sys.,

  N.V. v. DeKalb Genetics Corp., 315 F.3d 1335, 1338 (Fed. Cir. 2003) (holding the claim term

  “plant cell” covered both “monocots” and “dicots,” but that the patent did not enable monocots);

  Monsanto Co. v. Syngenta Seeds, Inc., 503 F.3d 1352, 1361 (Fed. Cir. 2007) (same); In re Vaeck,

  947 F.2d 488, 495 (Fed. Cir. 1991) (“There is no reasonable correlation between the narrow

  disclosure in appellants’ specification and the broad scope of protection sought in the claims

  encompassing gene expression in any and all cyanobacteria.”). Cf. Genentech, 108 F.3d at 1366

  (“Patent protection is granted in return for an enabling disclosure of an invention, not for vague

  intimations of general ideas that may or may not be workable.”).

          “[T]he omission of minor details does not cause a specification to fail to meet the

  enablement requirement. However, when there is no disclosure of any specific starting material

  or of any of the conditions under which a process can be carried out, undue experimentation is

  required; there is a failure to meet the enablement requirement that cannot be rectified by

  asserting that all the disclosure related to the process is within the skill of the art. It is the

  specification, not the knowledge of one skilled in the art, that must supply the novel aspects of an

  invention in order to constitute adequate enablement.” Genentech, 108 F.3d at 1366.

          Courts apply the Wands-factors to determine whether “undue experimentation” would be

  necessary, namely “(1) the quantity of experimentation necessary, (2) the amount of direction or

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  guidance presented, (3) the presence or absence of working examples, (4) the nature of the

  invention, (5) the state of the prior art, (6) the relative skill of those in the art, (7) the

  predictability or unpredictability of the art, and (8) the breadth of the claims.” In re Wands, 858

  F.2d at 737; see, e.g., Enzo Biochem, Inc., 188 F.3d at 1370–77 (upholding the applicability of

  the Wands-factors).

                  5.       Lack of Written Description

          Section 112(a) of Title 35 of the United States Code provides, in relevant part, that:
          The specification shall contain a written description of the invention, and of the
          manner and process of making and using it, in such full, clear, concise, and exact
          terms as to enable any person skilled in the art to which it pertains, or with which
          it is most nearly connected, to make and use the same, and shall set forth the best
          mode contemplated by the inventor of carrying out his invention.

          “To fulfill the written description requirement, a patent owner must convey with

  reasonable clarity to those skilled in the art that, as of the filing date sought, he or she was in

  possession of the invention, and demonstrate that by disclosure in the specification of the

  patent.” Idenix Pharms. LLC v. Gilead Scis. Inc., 941 F.3d 1149, 1163 (Fed. Cir. 2019) (internal

  citations omitted). An adequate written description requires more than “a mere wish or plan for

  obtaining” the claimed invention. Univ. of Rochester v. G.D. Searle & Co., 358 F.3d 916, 927

  (Fed. Cir. 2004). The written description requirement is a question of fact. Ariad Pharms., Inc.

  v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010). To invalidate a claim for lack of

  written description requires clear and convincing evidence. Id. at 1354.

          Determining whether the patent satisfies the written description requirement “requires an

  objective inquiry into the four corners of the specification.” Centocor Ortho Biotech, Inc. v.

  Abbott Lab’ys, 636 F.3d 1341, 1348 (Fed. Cir. 2011). Each claim limitation must be described in

  the specification. Lockwood v. Am. Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997);

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  Centocor, 636 F.3d at 1347.

         The written description requirement serves as a quid pro quo “in which the public is

  given ‘meaningful disclosure in exchange for being excluded from practicing the invention for a

  limited period of time.’” Univ. of Rochester, 358 F.3d at 920, 922. The written description

  requirement also “operates as a timing mechanism to ensure fair play in the presentation of

  claims after the original filing date and to guard against manipulation of that process by the

  patent applicant.” PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1307 (Fed. Cir.

  2008); see Agilent Techs., Inc. v. Affymetrix, Inc., 567 F.3d 1366, 1379 (Fed. Cir. 2009) (§112

  “prohibits new matter from entering into claim amendments, particularly during the continuation

  process.”); Amgen Inc. v. Hoechst Marion Roussel Inc., 314 F.3d 1313, 1330, (Fed. Cir. 2003)

  (“The purpose of the written description requirement is to prevent an applicant from later

  asserting that he invented that which he did not”); Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555,

  1561 (Fed Cir. 1991) (“Adequate description of the invention guards against the inventor’s

  overreaching by insisting that he recount his invention in such detail that his future claims can be

  determined to be encompassed within his original creation.”).

         To satisfy written description, the specification must “clearly allow persons of ordinary

  skill in the art to recognize that [the inventor] invented what is claimed.” Ariad Pharms., Inc. v.

  Eli Lilly and Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010). In other words, the specification itself

  must show that “the inventor actually invented the invention claimed” by “reasonably

  convey[ing] to those skilled in the art that the inventor had possession of the claimed subject

  matter as of the filing date.” Id. The written description does not concern what a person of

  ordinary skill could do, but rather what the inventors themselves did do. The specification must

  describe the invention as broadly as it is claimed to demonstrate that the inventors actually

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  invented the full scope of the claimed invention by the time they filed the application. Id. at

  1351–52.

         The question is not whether a claimed invention is an obvious variant of an embodiment

  described in the specification, or whether one skilled in the art might be able to construct the

  claimed invention. Id. at 1352; Regents of Univ. of Cal. v. Eli Lilly & Co., 119 F.3d 1559, 1566–

  67 (Fed. Cir. 1997) (“an applicant complies with the written description requirement ‘by

  describing the invention, with all its claimed limitations, not that which makes it obvious’”).

  ICU Med., Inc. v. Alaris Med. Sys., Inc., 558 F.3d 1368, 1378–79 (Fed. Cir. 2009); Lockwood v.

  Am. Airlines, 107 F.3d 1565, 1572 (Fed. Cir. 1997). “It is not sufficient for purposes of the

  written description requirement of §112 that the disclosure, when combined with the knowledge

  in the art, would lead one to speculate as to the modifications that the inventor might have

  envisioned, but failed to disclose.” Id. at 1572. “The knowledge of ordinary artisans may be

  used to inform what is actually in the specification, but not to teach limitations that are not in the

  specification, even if those limitations would be rendered obvious by the disclosure in the

  specification.” Rivera v. ITC, 857 F.3d 1315, 1322 (Fed. Cir. 2017) (internal citation omitted).

         Written description support requires more than an “amalgam of disclosures plucked

  selectively from the [specification].” Novozymes A/S v. Dupont Nutrition BioSciences APS, 723

  F.3d 1336, 1349 (Fed. Cir. 2013). In assessing written description, “each claim [must be taken]

  as an integrated whole rather than as a collection of independent limitations.” Id. at 1349.

  “Working backward from a knowledge of the claims, that is by hindsight” is not permitted

  because, when doing so, “it is all very clear what route one would travel through the forest of the

  specification to arrive at [the claimed invention].” Id.

         Accordingly, § 112 requires the inventor to provide “blaze marks” in the description “to

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  guide a reader through the forest of disclosed possibilities” toward the claimed invention.

  Novozymes at 1346; see Purdue Pharma L.P. v. Faulding Inc., 230 F.3d 1320, 1326 (Fed. Cir.

  2000) (“[O]ne cannot disclose a forest in the original application, and then later pick a tree out of

  the forest and say here is my invention.”); see also General Hosp. Corp. v. Sienna Biopharma.,

  Inc., 888 F3.d 1368, 1372 (Fed. Cir. 2018) (“disclosure of a broad range of values does not by

  itself provide written description for a particular value within that range”). The written

  description test is not whether “a person of skill in the art would isolate and combine aspects

  from various embodiments in the specifications . . . to obtain the claimed invention” Purdue

  Pharma L.P. v. Recro Tech., LLC, 694 Fed. Appx. 794, 797 (Fed. Cir. 2017); see Bos. Sci. Corp.

  v. Johnson & Johnson, 647 F.3d 1353, 1364 (Fed. Cir. 2011) (“[T]he lack of any disclosure of

  examples may be considered when determining whether the claimed invention is adequately

  described.”).

         6.       Indefiniteness

         A patent claim is invalid for indefiniteness if, when read in light of the rest of the patent

  and the prosecution history, it fails to inform, with reasonable certainty, those skilled in the art

  about the scope of the invention. Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901

  (2014). While some degree of uncertainty is allowed given the inherent limitations of language,

  a patent must be precise enough to afford clear notice to the public of what is claimed. Id. at

  899. Indefiniteness is ultimately a matter of law, based on underlying factual determinations.

  Cox Communs., Inc. v. Sprint Commun. Co. LP, 838 F.3d 1224, 1228 (Fed. Cir. 2016). Any fact

  critical to a holding on indefiniteness must be proven by the challenger by clear and convincing

  evidence. Id. When the district court reviews only evidence intrinsic to the patent, the judge’s

  determination is solely a determination of law. Teva Pharm. USA, Inc. v. Sandoz, Inc., 574 U.S.

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   318, 320 (2015).

III.      DAMAGES AND INJUNCTIVE RELIEF

          A.      Issues of Law

          1.      Whether Microchip can show by a preponderance of the evidence that it is

   entitled to lost profits damages and the amount of those damages for Aptiv’s alleged

   infringement of the Asserted Claims of the Asserted Patents.

          2.      The appropriate measure of damages in the form of a reasonable royalty as

   compensation to Microchip for Aptiv’s alleged infringement of the Asserted Claims of the

   Asserted Patents.

          3.      Whether Microchip is entitled to enhanced damages for Aptiv’s alleged

   infringement of the Asserted Claims of the Asserted Patents.

          4.      Whether Microchip is entitled to a permanent injunction.

          5.      Whether Microchip is entitled to attorneys’ fees and costs.

          6.      Whether Microchip is entitled to an award of pre-judgment interest, post-

   judgment interest, costs, and disbursements.

          7.      Whether Aptiv is entitled to attorneys’ fees and costs.

          B.      Relevant Authority

                  1.      Damages

          Upon a finding of infringement, the patentee shall be awarded “damages adequate to

   compensate for the infringement, but in no event less than a reasonable royalty for the use made

   of the invention by the infringer, together with interest and costs as fixed by the court.” 35

   U.S.C. § 284. “[T]he amount of a prevailing party’s damages is a finding of fact on which the

   plaintiff bears the burden of proof by a preponderance of the evidence.” Smithkline Diagnostics,

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  Inc. v. Helena Labs. Corp., 926 F.2d 1161, 1164 (Fed. Cir. 1991).

                         a.      Lost Profits

         The Panduit test establishes the basic, traditional framework for analyzing lost profits:

         To obtain as damages the profits on sales he would have made absent the
         infringement, i.e., the sales made by the infringer, a patent owner must prove: (1)
         demand for the patented product, (2) absence of acceptable noninfringing
         substitutes, (3) his manufacturing and marketing capability to exploit the demand,
         and (4) the amount of the profit he would have made.

  Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978). When

  there are multiple competitors in a market, a patentee may be entitled to lost profits based on the

  infringing sales apportioned according to its “share of the market.” State Indus., Inc. v. Mor-Flo

  Indus., Inc., 883 F. 2d 1573, 1578-80 (Fed. Cir. 1989). Where the application of the Panduit

  factors does not result in the separation of profits attributable to the patented device and the

  profits attributable to providing non-patented features or benefits, the lost profits damages must

  be further apportioned to reflect that apportionment. WesternGeco L.L.C. v. ION Geophysical

  Corp., 913 F.3d 1067, 1073–75 (Fed. Cir. 2019); Mentor Graphics v. EVE, 851 F.3d 1275, 1287-

  88 (Fed. Cir. 2017); Ericsson, Inc. v. D-Link Sys., 773 F.3d 1201, 1226 (Fed. Cir. 2014).

                         b.      Reasonable Royalty

         A reasonable royalty is the amount that the defendant would have paid for a license to the

  asserted patents if the parties had negotiated a license prior to the first alleged infringement. See

  LaserDynamics, Inc. v. Quanta Comput., Inc., 694 F.3d 51, 60 & n.2 (Fed. Cir. 2012). The

  hypothetical negotiation approach “attempts to ascertain the royalty upon which the parties

  would have agreed had they successfully negotiated an agreement just before infringement

  began.” VirnetX, Inc. v. Cisco Sys., 767 F.3d 1308, 1326 (Fed. Cir. 2014). “[P]arties in a

  hypothetical negotiation are presumed to have perfect knowledge of all facts and circumstances,

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  some of which were unknown during the actual patent negotiations and acquisition.” Intellectual

  Ventures I LLC v. Check Point Software Techs. Ltd., 215 F. Supp. 3d 314, 324–25 (D. Del. 2014)

  (citing Mobile Oil Corp. v. Amoco Chemicals Corp., 915 F. Supp. 1333, 1353 (D. Del. 1994)).

  In applying the construct of the hypothetical negotiation, the fact-finder must assume that the

  patents-in-suit are valid, enforceable, and infringed. See Lucent Techs. v. Gateway, Inc., 580

  F.3d, 1301 1325 (2009).

         In performing this analysis, the patent holder should only be compensated for “the

  incremental value that the patented invention adds to the end product,” and no more. Ericsson,

  Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014). And the patent holder should not

  be compensated for the value contributed by others, including through common modes and

  conventional technologies, such as those known in the prior art. Exmark Mfg. Co. Inc. v. Briggs

  & Stratton Power Prod. Grp., LLC, 879 F.3d 1332, 1348 (Fed. Cir. 2018); CSIRO v. Cisco Sys.,

  809 F.3d 1295, 1301 (Fed. Cir. 2015).

         Courts consider a variety of factors in determining the reasonable royalty that the parties

  would have agreed to in the “hypothetical negotiation,” outlined in Georgia-Pacific Corp. v.

  United States Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970). These include:

         (1) the royalties received by the patentee for the licensing of the patent in suit,
         proving or tending to prove an established royalty;
         (2) the rates paid by the licensee for the use of other patents comparable to the
         patent in suit;
         (3) the nature and scope of the license, as exclusive or non-exclusive; or as
         restricted or non-restricted in terms of territory or with respect to whom the
         manufactured product may be sold;
         (4) the licensor’s established policy and marketing program to maintain his patent
         monopoly by not licensing others to use the invention or by granting licenses
         under special conditions designed to preserve that monopoly;
         (5) the commercial relationship between the licensor and licensee, such as,
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         whether they are competitors in the same territory in the same line of business; or
         whether they are inventor and promotor;
         (6) the effect of selling the patented specialty in promoting sales of other products
         of the licensee; the existing value of the invention to the licensor as a generator of
         sales of his non-patented items; and the extent of such derivative or convoyed
         sales;
         (7) the duration of the patent and the term of the license;
         (8) the established profitability of the product made under the patent; its
         commercial success; and its current popularity;
         (9) the utility and advantages of the patent property over the old modes or
         devices, if any, that had been used for working out similar results;
         (10) the nature of the patented invention; the character of the commercial
         embodiment of it as owned and produced by the licensor; and the benefits to those
         who have used the invention;
         (11) the extent to which the infringer has made use of the invention; and any
         evidence probative of the value of that use;
         (12) the portion of the profit or of the selling price that may be customary in the
         particular business or in comparable businesses to allow for the use of the
         invention or analogous inventions;
         (13) the portion of the realizable profit that should be credited to the invention as
         distinguished from non-patented elements, the manufacturing process, business
         risks, or significant features or improvements added by the infringer;
         (14) the opinion testimony of qualified experts; and
         (15) the amount that a licensor (such as the patentee) and a licensee (such as the
         infringer) would have agreed upon (at the time the infringement began) if both
         had been reasonably and voluntarily trying to reach an agreement; that is, the
         amount which a prudent licensee—who desired, as a business proposition, to
         obtain a license to manufacture and sell a particular article embodying the
         patented invention—would have been willing to pay as a royalty and yet be able
         to make a reasonable profit and which amount would have been acceptable by a
         prudent patentee who was willing to grant a license.
         Georgia-Pacific Corp., 318 F. Supp. at 1120.
         As part of Georgia-Pacific Factor 9 concerning the comparative utility of the patented

  technology over old modes or devices, the fact finder may consider the existence of non-

  infringing alternatives to the patented technology. See, e.g., Micro Chem., Inc. v. Lextron, Inc.,
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  317 F.3d 1387, 1393-94 (Fed. Cir. 2003); Riles v. Shell Exploration & Production, 298 F.3d

  1302, 1312 (Fed. Cir. 2002). The existence of a non-infringing alternative can help show that the

  alleged infringer “would have been in a stronger position to negotiate for a lower royalty rate

  knowing it had a competitive noninfringing device ‘in the wings.’” Zygo Corp. v. Wyko Corp.,

  79 F.3d 1563, 1571–72 (Fed. Cir. 1996). As a general matter, the availability of a viable, non-

  infringing alternative will place a downward pressure on the reasonable royalty. See id. Further,

  a patentee “must apportion or separate the damages between the patented improvement and the

  conventional components of the multicomponent product” known in the prior art. Exmark, 879

  F.3d 1332, 1348 (Fed. Cir. 2018); CSIRO v. Cisco Sys., 809 F.3d 1295, 1301 (Fed. Cir. 2015).

         “The determination of a reasonable royalty . . . is based not on the infringer’s profit, but

  on the royalty to which a willing licensor and a willing licensee would have agreed to at the time

  the infringement began.” Radio Steel & Mfg. Co. v. MTD Products, Inc., 788 F.2d 1554, 1557

  (Fed. Cir. 1986); see also Lucent Techs., 580 F.3d at 1324–25. Generally, a patentee must

  apportion the defendant’s profits between patented and unpatented features; a patentee may

  calculate a royalty as a percentage of the entire market value of the accused product only if the

  patented feature creates the basis for customer demand, i.e. that it creates the demand for the

  product “in the first place” rather than just enabling an important, or even essential, feature or

  characteristic. See LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 68 (Fed. Cir.

  2012); Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1318 (Fed. Cir. 2011).

         In other words, “[t]he law requires patentees to apportion the royalty down to a

  reasonable estimate of the value of its claimed technology, or else establish that its patented

  technology drove demand for the entire product.” VirnetX, 767 F.3d at 1329; see also, Bayer

  HealthCare LLC v. Baxalta Inc., No. 16-CV-1122-RGA, 2019 WL 330149, at *8 (D. Del. Jan.

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  25, 2019) (citing Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226–27 (Fed. Cir. 2014)

  (instructing that royalties must be apportioned between the infringing and non-infringing features

  of the accused product); CSIRO v. Cisco Sys., Inc., 809 F.3d 1295, 1304–1305 (Fed. Cir. 2015).

  The royalty base should not be larger than the smallest salable unit embodying the patented

  invention. Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 904 F. 3d 965, 977

  (Fed. Cir. 2018), cert. denied, 139 S. Ct. 1265 (2019). “[T]he smallest salable unit approach was

  intended to produce a royalty base much more closely tied to the claimed invention than the

  entire market value of the accused products. . . . Where the smallest salable unit is, in fact, a

  multi-component product containing several non-infringing features with no relation to the

  patented feature . . . the patentee must do more to estimate what portion of the value of that

  product is attributable to the patented technology.” VirnetX, 767 F.3d at 1327. “When the

  smallest saleable unit itself has noninfringing features, the patentee must estimate what portion

  of that smallest salable unit is attributable to the patented technology.” Bayer HealthCare, 2019

  WL 330149, at *8. In particular, a patentee is not permitted to recover damages based on the

  entire market value of the accused products unless it proves that the claimed patented features

  are the sole driving factor for customers’ demand for the product in the first instance (rather than

  just enabling an important, differentiating, or even essential feature or characteristic). Power

  Integrations, 904 F.3d at 977–980; VirnetX, 767 F.3d at 1326 (“[a] patentee may assess damages

  based on the entire market value of the accused product only where the patented feature creates

  the basis for customer demand or substantially creates the value of the component parts.”).

         In order to be admissible, the evidence considered in a reasonable royalty analysis “must

  be tied to the relevant facts and circumstances of the particular case at issue and the hypothetical

  negotiations that would have taken place in light of those facts and circumstances at the relevant

                                                    26
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  time.” Uniloc, 632 F.3d at 1318. Shortcuts to determining a reasonable royalty rate that have no

  relation to the specific facts of the case are “arbitrary, unreliable, and irrelevant.” Id. at 1318;

  Avocent Redmond Corp. v. Rose Electronics, C06-1711RSL, 2013 WL 8844098, at *5 (W.D.

  Wash. Mar. 11, 2013) (concluding that an expert’s application of a 33% “one-size-fits-all

  multiplier” to the royalty rate, which was based on data showing that patent holders are

  successful in infringement suits in federal courts in only 33% of cases nationwide, was

  inadmissible under Daubert because it was not tied to the specific facts of the case); VirnetX, 767

  F.3d at 1332 (rejecting application of Nash bargaining solution because without establishing

  premises on which the theorem is based, its application becomes nothing more than “an

  inappropriate ‘rule of thumb’”).

          2.      Enhancement of Damages

          Whether to award enhanced damages is a matter left to the discretion of the Court. 35

  U.S.C. § 284; see also Halo Elecs., Inc., 579 U.S. at 104 (“District courts enjoy discretion in

  deciding whether to award enhanced damages, and in what amount. But through nearly two

  centuries of discretionary awards and review by appellate tribunals, ‘the channel of discretion

  ha[s] narrowed,’ so that such damages are generally reserved for egregious cases of culpable

  behavior.”) (citations omitted). The plaintiff must prove enhanced damages by a preponderance

  of the evidence. Id. at 94.

          Enhanced damages “should generally be reserved for egregious cases typified by willful

  misconduct.” Id. “Awards of enhanced damages under the Patent Act over the past 180 years

  establish that they are not to be meted out in a typical infringement case, but are instead designed

  as a ‘punitive’ or ‘vindictive’ sanction for egregious infringement behavior.” Id. at 103; see also

  id. at 110–11 (Breyer, J., concurring) (“[T]he Court’s references to ‘willful misconduct’ do not

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  mean that a court may award enhanced damages simply because the evidence shows that the

  infringer knew about the patent and nothing more . . . . It is ‘circumstanc[e]’ that transforms

  simple knowledge into such egregious behavior, and that makes all the difference.”).

         Despite that there is no “rigid formula for awarding enhance damages under § 284,” id at

  94, the factors courts consider when determining whether an infringer’s behavior was egregious

  include “(1) whether the infringer deliberately copied the invention; (2) whether the infringer,

  when aware of the patent, investigated and formed a good faith belief of invalidity or

  noninfringement; (3) the infringer’s behavior as a party to litigation; (4) defendant’s size and

  financial condition; (5) closeness of the case; (6) duration of defendant’s misconduct; (7)

  remedial action by the defendant; (8) defendant’s motivation for harm; and (9) whether

  defendant attempted to conceal its misconduct.” Boston Scientific Corp. v. Cordis Corp., 838 F.

  Supp. 2d 259, 278 (D. Del. 2012) (citing Read, 970 F.2d at 826-828), aff’d, 497 F. App’x 69

  (Fed. Cir. 2013).

         3.      Injunctive Relief

         “[T]he decision whether to grant or deny injunctive relief rests within the equitable

  discretion of the district courts, and that such discretion must be exercised consistent with

  traditional principles of equity.” eBay, Inc. v. MercExchange, L.L.C., 126 S. Ct. 1837, 394

  (2006). To obtain a permanent injunction, a plaintiff that has proven infringement must show

  “(1) irreparable injury in the absence of an injunction, (2) inadequacy of compensatory remedies

  at law, (3) a balance of hardships favoring an injunction, and (4) consistency of an injunction

  with the public interest.” Texas Advanced Optoelectronic Solutions, Inc. v. Renesas Electronics

  America, Inc., 895 F.3d 1304, 1331 (Fed. Cir. 2018) (citation omitted). A patentee’s prolonged

  or undue delay in commencing legal proceedings and seeking injunctive relief evinces a lack of

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  irreparable harm. See Apple, Inc. v. Samsung Elecs. Co., 678 F.3d 1314, 1325–26 (Fed. Cir.

  2012).

           4.       Attorneys’ Fees and Costs

           Whether to award attorney fees is a matter left to the discretion of the Court. See 35

  U.S.C. § 285; Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014)

  (“District courts may determine whether a case is ‘exceptional’ in the case-by-case exercise of

  their discretion, considering the totality of the circumstances.”). A request for attorneys’ fees

  must be brought by motion within 14 days after entry of judgment. Fed. R. Civ. P.

  54(d)(2)(B)(i); IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1386 (Fed. Cir.

  2005) (“[W]e hold that any claim to attorney fees must be processed in compliance with Rule

  54(d)(2)(B).”).

           “Under the ‘American rule,’ the prevailing litigant is ordinarily not entitled to any

  attorney fees, absent statutory authority. A rationale for this rule is that one should not be

  penalized for merely defending or prosecuting a lawsuit.” Machinery Corp. of America v.

  Gullfiber AB, 774 F.2d 467, 471 (Fed. Cir. 1985) (citations omitted). “Attorney fees are not to

  be routinely assessed against a losing party.” Revlon, Inc. v. Carson Products Co., 803 F.2d 676,

  679 (Fed. Cir. 1986).

           Under 35 U.S.C. § 285 attorneys’ fees may be awarded to the prevailing party in

  “exceptional cases.” An exceptional case must be proven by a preponderance of the evidence

  and “is simply one that stands out from others with respect to the substantive strength of a

  party’s litigating position (considering both the governing law and the facts of the case) or the

  unreasonable manner in which the case was litigated.” Octane Fitness, 572 U.S. at 554.



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         5.      Prejudgment and Postjudgment Interest

         The patent statute authorizes awards of prejudgment interest. 28 U.S.C. § 1961. The rate

  of prejudgment interest is a matter for the Court to determine. See Rite-Hite Corp. v. Kelley Co.,

  56 F.3d 1538, 1555 (Fed. Cir. 1995) (upholding the district courts awarding of interest at a

  simple rather than a compound rate). “Prejudgment interest serves to compensate for the loss of

  use of money due as damages from the time the claim accrues until judgment is entered, thereby

  achieving full compensation for the injury those damages are intended to redress.” Transmatic,

  Inc. v. Gulton Indus., 180 F.3d 1343, 1348 (Fed. Cir. 1999) (quoting West Virginia v. United

  States, 479 U.S. 305, 310 n.2, (1987).

         “Postjudgment interest is similar, as it serves to further compensate a winning plaintiff

  from the time of a judgment until payment is made.” Transmatic at 1348 (citing 28 U.S.C. §

  1961(a)). Determining the correct dividing line for calculating pre- and postjudgment interest is

  a matter of regional circuit law rather than federal circuit law. Transmatic at 1347. Where post-

  judgment interest is awarded, it starts running when a judgment quantifying that award has been

  entered. Eagleview Techs., Inc. v. Xactware Sols., Inc., No. 1:15-cv-07025, 2021 U.S. Dist.

  LEXIS 28272, at *64 (D.N.J. Feb. 16, 2021) (citing Travelers Cas. & Sur. Co. v. Ins. Co. of N.

  Am., 609 F.3d 143, 174 (3d Cir. 2010)).




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